                       2:19-cr-00809-BM                 Date Filed 10/01/19               Entry Number 7              Page 1 of 1



AO 93 (Rev. 11 /1 3) Search and Seizure W arrant




                                              UNITED STATES DISTRICT COURT
                                                                             for the
                                                                 District of South Carolina

                    In the Matter of the Search of                              )
               (Briefly describe the property to be searched                    )
                or identify the person by name and address)                     )       Case No.   ~ '. \   C\- CS - ~ t> °\.
      IN THE MATTER OF THE SEARCH OF INFORMATION                                )
               CONTAINED IN: LG Cell Phone                                      )
                                                                                )

                                                   SEARCH AND SEIZURE WARRANT
To:        Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the           Judicial           District of           South Carolina
(identify the person or describe the property to be searched and give its location) :

      See Attachment A




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized) :
    See Attachment B




          YOU ARE COMMANDED to execute this warrant on or before
      0 in the daytime 6:00 a.m. to 10:00 p.m.
                                         0 at any time in the day or night                   --~--~-~                    ~~     (not to exceed 14 days)
                                                                                                                       ........- -
                                                                                                            au se good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken .
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                       c-,......, ~ -c- ~,,___.,_•-'•cc...A.
                                                                                                                              ...c•' - - - - - -
                                                                                                       (United ~tat~gistrate Judge)

     0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result !is                       a n 18
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the                                or   hose
property, wi II be searched or seized (check the appropriate box)
     0 for          days (not to exceed 30) □ until , the facts justifying, the later specific date of


Date and time issued :                 ~ "i I           2ol"i
                                                   ~•. N fk
City and state :             Charleston, SC
                             ---------------
